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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                            WESTERN DIVISION AT DAYTON

STATE OF ARIZONA, et al.,

        Plaintiffs,                                         Case No. 3:21-cv-314

vs.

JOSEPH R. BIDEN, et al.,                                    District Judge Michael J. Newman
                                                            Magistrate Judge Peter B. Silvain, Jr.
      Defendants.
______________________________________________________________________________

ORDER: (1) GRANTING PLAINTIFFS’ UNOPPOSED MOTION TO CONTINUE STAY
OF PROCEEDINGS (DOC. NO. 63); AND (2) STAYING FURTHER PROCEEDINGS IN
   THIS COURT PENDING THE SUPREME COURT’S RESOLUTION OF UNITED
                       STATES v. TEXAS, NO. 22-58 (2022)
______________________________________________________________________________

        After due consideration, Plaintiffs’ Unopposed Motion to Continue Stay of Proceedings

(Doc. No. 63) is GRANTED. Further proceedings in this Court are stayed pending the Supreme

Court’s resolution of United States v. Texas, No. 22-58 (2022).

        IT IS SO ORDERED.

Date:   August 31, 2022                             s/Michael J. Newman
                                                    Hon. Michael J. Newman
                                                    United States District Judge
